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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS                                           Date: May 20, 2022

BEFORE JUDGE FRANCISCO A. BESOSA                                 CIVIL NO. 12-2039 (FAB)

COURTROOM DEPUTY: Omar Flaquer-Mendoza

COURT REPORTER: Amy Walker

COURT INTERPRETER: Iris Ramirez

INTERPRETER FOR DEFENDANTS: Mayra Cardona

=====================================================================

UNITED STATES OF AMERICA

        Plaintiff,

v.

COMMONWEALTH OF PUERTO RICO, et al.

        Defendants.

=====================================================================
   In Person Status hearing held as ordered at ECF No. 2009. Hearing began at 1:48 p.m. and

ended at 4:10 p.m.

The following persons were present at this conference:

     1. Federal Monitor John Romero, and team:

        a. Denise Rodriguez, Chief Deputy Monitor

        b. Scott Gragg, Monitoring Core Team

        c. Merangelie Serrano, Monitoring Core Team


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      d. Alan C. Youngs, Monitoring Core Team

      e. Hipólito Castro, Investigator to the Federal Monitor

      f. Javier González, Administrative Director of the Office of the Federal Police Monitor

      g. Roberto Abesada, General Counsel for the Federal Monitor.

   2. Special Master Dr. Alejandro Del Carmen, and team:

      a. Thomas D. Petrowski, Assistant Special Master

      b. Gary A. Loeffert, Second Assistant Special Master

   3. For Plaintiff, United States of America:

      a. Trial Attorney Luis Saucedo

      b. Trial Attorney Jorge M. Castillo

    4. For Defendants Commonwealth of Puerto Rico and the Puerto Rico Police Bureau:

      a. Counsel Gabriel A. Peñagarícano.

      b. Counsel Rafael E. Barreto-Solá

    5. Office of the Governor (“La Fortaleza”)

      a. María Del Mar Ortiz, Esq., Special Counsel to the Governor

     6. Office of Management and Budget (“OMB”)

      a. Pedro De Jesús, Chief Counsel and liaison on police reform matters

      b. Zulma Canales, Director of Fiscal Compliance

     7. Puerto Rico Innovation and Technology Service (“PRITS”)

      a. Enrique Volckers, Innovation Chief of Staff and Technology

      b. Nanette Martínez-Ortiz, Acting Information, and Innovation Officer (“CIIO”), and

Technology Officer (“CTO”) for the Commonwealth of Puerto Rico

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      8. General Services Administration (“GSA”)

          a. Edgardo González, Assistant Administrator for Service to the Agencies, and liaison on

police reform matters

      9. Office for the Administration and Transformation of Human Resources (“OATHR”)

          a. Gustavo Cartagena, Director

      10. Puerto Rico Federal Affairs Administration (“PRFAA”)

          a. Carmen Feliciano, Executive Director was not present

      11. Department of Public Safety (“DPS”)

          a. Hon. Alexis Torres, Secretary, and the Governor’s representative for police reform

matters

          b. Arturo Garfer, Assistant Secretary

          c. Rafael Riviere, Deputy Secretary

          d. Carlos Colón, Director, IT Office

          e. Miguel Candelario, Counsel to the Secretary

      12. Puerto Rico Police Bureau (“PRPB”)

          a. Antonio López, Commissioner

          b. Carlos Figueroa, Director, Reform Office

          c. José Vázquez, Counsel, Reform Office

          d. Caonabo Vicente, Director of Information Technology, in substitution of Juan Carlos

Rivera, Director, IT Bureau

          e. Ángel Díaz, Director, Consultant IT Bureau

          m. Pedro Santiago, Counsel to the Commissioner

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     13. FOMB

       a. Amaury Rodríguez, “Analyst” on Public Safety Matters

       b. Elisa Guardiola, Budget Manager

The following topics pursuant to the Order Scheduling Status Conference, ECF No. 2009 were

discussed:

A. Information Technology

i. Current Stipulation Timelines - Have the timelines identified in the stipulation submitted to the

Court by the parties been met?

ii. Future Stipulation Timelines - Is the Commonwealth on pace to meet future timelines as outlined

in the stipulation?

B. Interim Use of Force Plan

Use of Force (UOF) Plan Status Report – What is the implementation status of the UOF Plan

submitted to the Court?

C. Supervision Plan

i. Current Stipulation Timelines - Have the timelines identified in the stipulation submitted to the

Court by the Parties been met?

ii. Future Stipulation Timelines - Is the Commonwealth on pace to meet future timelines as outlined

in the stipulation?

iii. Promotional Exams Status Report – What is the status of promotional exams?

iv. Staffing Shortages Status Report – What is the plan to deploy sergeants to the field due to

staffing shortages?


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v. Civilianization of Positions Status Report – What is the plan for civilianizing positions within

the Puerto Rico Police Bureau (PRPB)?

vi. Cadet Program – What is the status of the regulation to implement the law permitting 18-year-

olds to become members of the PRPB?

vii. What is the status of PRPB coordinating with universities to offer courses leading to the

associates degree that the consent requires for sworn officers?

viii. Career Path Development – What is the status of the Career Path Policy?

ix. Promotional Protocol Implementation – What is the status of the promotional protocol

implementation?


       Federal Monitor John Romero presented information on the areas of concern, issue by

        issue. The Court then allowed the Commonwealth, the United States, and the Special

        Master to respond.

   1. Information Technology. The parties informed as to the current and future stipulation

        timelines. Federal Monitor Romero informed that on April 12, 2022, the U.S. Department

        of Justice and the Commonwealth of Puerto Rico filed an amended joint stipulation, ECF

        No. 1995. This stipulation was approved on April 18, 2022, ECF No. 2000. There are

        future timelines that will need to be met for the Commonwealth to be able to comply with

        the stipulations approved; See ECF No. 2002. A qualified team must conduct an IT needs

        assessment; a draft report shall be completed no later than October 1, 2022. Collaboration

        period to finalize the needs assessment and to prepare the frameworks for the action plan

        shall be completed no later than November 1, 2022. As agreed by the Monitor and the


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   parties, the IT assessment needs to be approved no later than November 15, 2022. The

   Commonwealth shall develop a draft IT action plan for review no later than January 15,

   2023. Collaboration period to finalize the IT action plan shall be completed no later than

   February 15, 2023. The IT action plan shall be approved by the parties and the Monitor

   no later than March 15, 2023. The Commonwealth and the United States agreed with

   those requirements and deadlines. The United States informed that the scope of the project

   will be a three-phased project with five (5) steps. The parties are currently working with

   the diagnostic and directions phase, which shall be completed no later than October 1,

   2022. The IT assessment shall include the initial project management and the current state

   assessment of where the Police of Puerto Rico is today with its information technology

   systems. The second phase is the strategic action planning. For this phase, the

   Commonwealth should take the IT needs assessment and develop an action plan and

   should identify and prioritize the critical needs and ensure that there are sufficient funds

   to address those needs. The action plan shall be completed no later than March 2023 in

   accordance with the Order approving the stipulation reached by the parties. The third

   phase is the execution of the strategic plan with the priorities built into it, to include

   funding and identification of the persons who will oversee the implementation. The

   parties are currently in the first step, initiation, and project management. The Special

   Master informed that he and his team were not included for this process. The Court

   instructed the parties that the Special Master and his team should be included to assists

   the vendor, Mr. Gartner, the Police Bureau, and the Federal Monitor.

2. Interim Use of Force Plan. The parties informed about the Use of Force (UOF) Data

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 Quality Work Plan. Federal Monitor Romero informed that on April 13, 2022 the

 Commonwealth submitted the PRPB provisional use of force plan to the Court. This plan

 was developed by PRPB and provided to the Department of Justice and the Monitor's office

 for comments and recommendation prior to submission to the Court. A permanent plan

 shall be developed as to how use of force information is captured, including the data that

 the PRPB must provide the Monitor’s office containing more valid use of force numbers

 for purposes of compliance and review. The Commonwealth has agreed to provide a status

 update to the Department of Justice and the Monitor’s office on implementation of the

 provisional use of force data plan every thirty (30) days. In addition, PRPB also agreed to

 submit to the Department of Justice and the Monitor any proposed directives related to the

 use of force plan for review and approval. The Commonwealth informed that they are on

 pace to comply with the conditional plan within the time limits imposed by the Court. The

 United States informed that the problem is validating reports coming directly from the

 officers. They are facing two (2) challenges. Lack of first line supervisors and the IT

 systems that have not been established yet. Captain Figueroa explained the process on how

 a use of force report is prepared. The Court ordered the PRPB to produce, for the Court’s

 review, no later than July 29, 2022, a validation report, the role of the Command Center

 Supervisor and the Field Operations statistician, and what has been done with each use of

 force report, for all validation reports during the month of June and the role statistics have

 in the validation reports. Any amendment to the provisional plan, shall be included in the

 report. Once the report is produced, the United States, the Monitor and the Special Master

 shall review it and discuss it with Captain Figueroa, and then submit comments or

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   suggestions to be considered by the Court.

3. Supervision Plan including the following: Current Stipulation Timelines; Future

   Stipulation Timelines, Promotional Exams Status Report; Staffing Shortages Status

   Report; Civilianization of Positions Status Report; Cadet Program; Status of PRPB

   coordination with universities to offer courses leading to the associates degree that

   the consent requires sworn officers to have; Career Path Development; and

   Promotional Protocol Implementation: Federal Monitor Romero informed that on April

   13, 2022, the U.S. Department of Justice and the Commonwealth of Puerto Rico filed a

   joint stipulation on the issue of staffing, ECF No. 1996. This stipulation was approved by

   Order entered on April 18, 2022, ECF No. 2002. The Monitor’s office and the Special

   Master’s office agreed with the stipulation. The Commonwealth complied with the

   deadlines set for April 20, 2022, and a Motion in compliance was filed by the

   Commonwealth on May 4, 2022, ECF No. 2023. The First step will be to get the staffing

   plan updated by July 15, 2022. The Second step is to develop a long-term plan. A Report

   shall be submitted within 90 days, but no later than August 2, 2022. Regarding the status

   of promotional exams to the positions of sergeant, as stated in the plan filed by the

   Commonwealth at ECF No. 2023, 506 sergeants will be promoted by end of this year. On

   how the promotions of 506 agents to sergeants will affect the budget, Pedro De Jesús,

   Chief Counsel, Office of Management and Budget (“OMB”) provided information.

   Meetings as to the matter of the promotions have been held with the PRPB. A meeting

   was held last week with the Fiscal Oversight Management Board (“FOMB”) regarding

   previous budgets that will roll over to the current and future budgets. Numbers for the
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   sergeant positions provided are pending to be confirmed by the FOMB. Elisa Guardiola,

   Budget Manager for the FOAM informed that the promotion process shall be completed

   by the end of December 2022, and a meeting will be held to discuss the additional funding

   required, calculated to be about $345,000.00. Ms. Guardiola informed that the unspent

   funds during fiscal years 2018, 2019, 2020 and 2021 total about $25M, which will be

   available and returned back to the PRPB. The PRPB should decide on how those funds

   will be requested and how they should be spent.

   Plan to deploy sergeants to the field due to staffing shortages and Civilianization of

Positions. The PRPB is working with an actual plan to deploy sergeants, and to have those

positions made available. Captain Figueroa explained the process to establish job descriptions

for civilian personnel, and that a manual for civilian positions in the police has been prepared.

Civilian positions are under the Commonwealth’s classification plan in which job descriptions

are included. In case a position is not contemplated in the plan, the PRPB will submit an

application for it to be allowed to create job positions and descriptions. What must be submitted

if a civilian may be appointed to a position that is held by a sworn officer will be investigated.

The Court instructed the PRPB to meet with the Monitor, the United States, and the Special

Master to go through those positions that may be civilianized, so that sworn officers holding

civilian positions may do what they are trained to do. In 90 days the Court will be informed of

the positions that have been identified to civilianize; a job description will be prepared for

those positions from which a sworn officer may be removed and a civilian appointed.

   Cadet Program, the status of the regulation to implement the law permitting 18-year-

old to become members of the Bureau, and the status of the Bureau coordinating with
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universities to offer courses leading to the associate degree required by the agreement.

A draft of the regulation has been prepared by the parties and will be submitted next week

pursuant to the previous order of the Court regarding this matter. Pedro Santiago, Counsel for

the Commissioner, informed about the process of hiring candidates or cadets. The plan

provides that three (3) principal academic institutions in Puerto Rico be able to provide credit

for the 1900 hours for police service courses for those candidates or cadets, to be counted

towards their Associate Degree. In order for the candidates or cadets to obtain credit for those

1900 hours, pre-service courses will be divided into operational courses and academic courses,

to be offered non-stop for a year and a half. The institution would provide credit for the

operational courses, and will provide the academic courses. Upon completion of those courses,

the candidates or cadets will be eligible to attend the police academy and become sworn

officers with an Associate Degree. The Court, after having heard all parties as to this matter,

ordered the Monitor, and the Special Master to submit a memorandum to determine if the

proposed regulation for recruitment of cadets violates the Consent Decree. The memorandum

shall be filed no later than May 31, 2022.

   Career Path Development: This matter pertains to paragraph 21 of the Consent

Decree. Counsel for the Commonwealth informed that the Career Path Policy was developed

by the PRPB and submitted to the parties. This policy has been going back and forth among

the parties. The last comments were submitted by the Special Master on May 1, 2022. The

policy is being revised, taking into account the comments by all parties, at which time it will

be submitted to the Court with all parties’ input by next. The United States indicated that this


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matter is an important part of the consent decree, and that once the revision of that policy is

provided, it will present comments.

   Promotional Protocol Implementation: Counsel for the Commonwealth informed that

the protocol was approved in open court last year. Implementation has, however, taken time.

After having a meeting with the Secretary of Public Safety, the public announcement will go

out on July 1, 2022. It will be for promotions from Inspectors to Colonels.




                                                 S/ Omar Flaquer-Mendoza
                                                 Omar Flaquer-Mendoza
                                                 Case Manager/Courtroom Deputy Clerk to
                                                 Hon. Francisco A. Besosa,
                                                 Senior U.S. District Judge




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